

People v Cooper (2023 NY Slip Op 05004)





People v Cooper


2023 NY Slip Op 05004


Decided on October 4, 2023


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on October 4, 2023
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

COLLEEN D. DUFFY, J.P.
JOSEPH J. MALTESE
BARRY E. WARHIT
LOURDES M. VENTURA, JJ.


2022-06827
 (Ind. No. 72667/21)

[*1]The People of the State of New York, respondent,
vNajee Cooper, appellant.


Patricia Pazner, New York, NY (Martin B. Sawyer of counsel), for appellant.
Eric Gonzalez, District Attorney, Brooklyn, NY (Leonard Joblove and Melissa Wachs of counsel; Darci Siegel on the memorandum), for respondent.



DECISION &amp; ORDER
Appeal by the defendant, as limited by his motion, from a sentence of the Supreme Court, Kings County (Raymond Rodriguez, J.), imposed July 25, 2022, upon his plea of guilty, on the ground that the sentence was excessive.
ORDERED that the sentence is affirmed.
Contrary to defendant's contention, the record demonstrates that he knowingly, voluntarily, and intelligently waived his right to appeal (see People v Thomas, 34 NY3d 545; People v Lopez, 6 NY3d 248). The defendant's valid waiver of his right to appeal precludes appellate review of his contention that the sentence imposed was excessive (see People v Washington, 214 AD3d 910; People v Stevens, 203 AD3d 958).
The defendant's remaining contentions are without merit.
DUFFY, J.P., MALTESE, WARHIT and VENTURA, JJ., concur.
ENTER:
Darrell M. Joseph
Acting Clerk of the Court








